









Affirmed and Memorandum Opinion filed August 11, 2005









Affirmed and Memorandum Opinion filed August 11, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-01081-CV

____________

&nbsp;

IN THE MATTER
OF J.J., III

&nbsp;

&nbsp;



&nbsp;

On Appeal from the
313th District Court

Harris County,
Texas

Trial Court Cause No.
03-07083J

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant, J.J., III, a juvenile, was found by a jury to have
engaged in delinquent conduct by committing aggravated sexual assault of a
child.&nbsp; Punishment was assessed at five
years probation.&nbsp; Appellant filed a
timely notice of appeal.








Appellant=s court‑appointed counsel has filed a brief in which he
concludes that the appeal is wholly frivolous and without merit.&nbsp; The brief meets the requirements of Anders
v. California, 386 U.S. 738, 744, 87 S.Ct. 1396, 1400 (1967), by presenting
a professional evaluation of the record and explaining why there are no
arguable grounds of error on appeal. Stafford v. State, 813 S.W.2d 503,
510 (Tex. Crim. App. 1991).&nbsp; It is
settled that the Anders doctrine also applies in juvenile matters.&nbsp; See In Re D.A.S., 973 S.W.2d 296, 299
(Tex. 1998) (extending Anders procedures to juvenile delinquency
proceedings based, in part, on quasi‑criminal nature of proceedings).

A copy of counsel's brief has been delivered to appellant and
to his father, and both have been advised that appellant has the right to file
a pro se brief.&nbsp; More than forty-five
days have elapsed and no pro se brief has been filed.

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed August 11, 2005.

Panel consists of Chief Justice
Hedges and Justices Yates and Anderson. 

Do Not Publish C Tex. R. App. P. 47.2(b).





